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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

INRE:                                               §      CASE NO. 19-31275-H5-7            ENTERED
                                                    §                                        04/23/2019
MICHAEL VEACH and CARLA                             §
VEACH,                                              §
   Debtor                                           §      CHAPTER 7
                                                    §
WELLS FARGO BANK. N.A.,                             §
   Movant                                           §      HEARING DATE: 04/30/2019
                                                    §
V.                                                  §      TIME: 09:30 AM
                                                    §
MICHAEL VEACH and CARLA                             §
VEACH; and RANDY W.                                 §
WILLIAMS, Trustee                                   §
   Respondents                                      §      JUDGE Jeffrey P. Norman

           AGREED ORDER GRANTING RELIEF FROM AUTOMATIC STAY
                        (This Order resolves Docket#)


        WELLS FARGO BANK, N.A. ("Movant") filed a motion for relief from the automatic
stay against

     8615 CAPE ROYAL DR
     CYPRESS, TX 77433-6684

     LOT SEVENTEEN (17), IN BLOCK ONE (1), OF CANYON LAKES WEST SECTION
     TWO (2), A SUBDIVISION IN HARRIS COUNTY, TEXAS, ACCORDING TO THE
     MAP OR PLAT THEREOF RECORDED UNDER FILM CODE NO. 613100 OF THE
     MAP RECORDS OF HARRIS COUNTY, TEXAS ,
                                             e;.




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(the "Property"). Movant represented to the Court that it had served the motion in accordance
with all applicable rules and provided notice of the hearing.             As sho~p by t h e
Trustee's signature below, the Trustee has agreed to the termination of the
automatic stay effective October 31, 2019.

       Accordingly, it is ordered that effective midnight on October 31 , 2019, Movant is
granted leave from the automatic stay to pursue its state law remedies against the Property,
including repossession, foreclosure and/or eviction.


       The stay imposed by Bankruptcy Rule 4001 (a)(3) does not apply.


                 April 23, 2019
                  November  01, 2018




Agreed:

AGREED AND ENTRY REQUESTED:

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RANDY WILLIAMS                /
TBA NO.: - - - - - - - - - -
S.D. TEX. BAR NO.: _ _ _ _ __
CHAPTER 7 TRUSTEE



    By submitting this Agreed Order, Movant's counsel certifies that counsel reviewed the docket
    sheet after the expiration of the deadline for responses and that no co-debtor has filed any
    opposition to the requested relief.




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